     Case 4:21-cv-01161-DPM   Document 165   Filed 04/10/25   Page 1 of 3



             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                       CENTRAL DIVISION

ROSE CHADWICK, on behalf of herself
and all others similarly situated                               PLAINTIFF

v.                        No. 4:21-cv-1161-DPM

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY                                             DEFENDANT

                                   ORDER
     Asking for a stay, State Farm focuses on the Court's reasoning for
rejecting its standing-based arguments against certification. It says the
reasoning is at odds with a possible outcome of Laboratory Corp. of
America Holdings v. Davis, -- S.Ct. ----, 2025 WL 288305 (2025). The Court
disagrees.
     The Court reiterates that the class definition in this case presents
no standing issues, even if a jury could find against Chadwick and the
class. What's more, although it was not her burden to show it on
certification, a reasonable mind could accept Chadwick's proof to
conclude that each class member here was harmed. But even without
Chadwick's proof, every other class member could have walked into
this Court and individually established standing against State Farm on
a breach of contract claim.      Anything less would defy clear and
controlling precedent. Halvorson v . Auto-Owners Ins. Co., 718 F.3d 773,
    Case 4:21-cv-01161-DPM    Document 165   Filed 04/10/25   Page 2 of 3



778-79 (8th Cir. 2013).      This Court didn't certify the class on the
condition that Chadwick establish its members' standing at some later
date. In the Court's view, the class members' standing was clear when
Chadwick brought her case. No potential outcome of the Davis case, as
this Court understands it, could upset the legal principles on which the
Court has relied.
     Additionally, State Farm has presented no evidence that any of
the class members here believe they were paid the actual cash value of
their totaled vehicle. And, other than Chadwick, it hasn't identified a
specific class member whom it argues lacks standing. In denying State
Farm's motion for summary judgment, the Court ruled that Chadwick
has standing. To the extent State Farm's arguments could apply to the
class, each class member is alleged to have suffered an economic injury
like hers. The question of standing is therefore "straightforward."
Wallace v. ConAgra Foods, Inc., 747 F.3d 1025, 1029 (8th Cir. 2014)
(quotation omitted).
     In the end, this is all quite distinct from Davis, where the proof
showed that many of the individuals falling within the certified class
definition didn't care if they could use one of the allegedly offending
self-service kiosks. See Brief for Petitioner at 8-9, Laboratory Corp. of
America Holdings v. Davis, -- S.Ct. ---- (5 March 2025) (No. 24-304). Those
facts are important in context. For one, the injuries alleged on behalf of
the Davis class weren't economic. Plus, an allegedly discriminatory

                                   -2-
    Case 4:21-cv-01161-DPM    Document 165   Filed 04/10/25   Page 3 of 3



service that nobody wants to use can't injure anybody and therefore
doesn't offend the Americans with Disabilities Act. Brintley v. Aeroquip
Credit Union, 936 F.3d 489, 491 (6th Cir. 2019). But even if one or more
of the class members in this case didn't suspect that State Farm's
deductions left them less than whole, or were satisfied with State
Farm's settlement payments anyway, that doesn't mean they were
uninjured. It simply means they were unlikely to have brought or won
a case. The Court is unaware of any precedent suggesting it must
consider what absent class members might have done with their
cognizable injuries if there had been no class action.
     State Farm's motion to stay, Doc. 146, is denied. An early in-
person pretrial would help the Court. We'll have one at 1:30 p.m. on
Wednesday, 14 May 2025 in Little Rock. The parties should file a joint
report with their suggestions (agreed, disputed, or both) about trial
architecture by 8 May 2025.
     So Ordered.


                                         D .P. Marshall Jr.
                                         United States District Judge




                                   -3-
